        Case 1:20-cv-04880-LMM Document 39 Filed 11/22/21 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CHRIS MATSON,                               )
                                            )
             Plaintiff,                     )
                                            )       CIVIL ACTION NO.:
      vs.                                   )       1:20-cv-04880-LMM-RDC
                                            )
CITY OF FOREST PARK, GA,                    )
                                            )
             Defendant.                     )

                            JOINT STATUS REPORT

      Pursuant to this Court’s September 21, 2021 Order [ECF No. 38], the Parties

respectfully provide this Court with their Joint Status Report as follows:

      1.     During the discovery period and after engaging in good faith

discussions regarding settlement, the Parties agreed to mediate this case.

Accordingly, the Parties submitted to this Court a Joint Motion to Stay Discovery

Pending Mediation on September 17, 2021. [Doc. 37.] This Court granted said

motion on September 21, 2021, and stayed discovery until November 30, 2021.

[Doc. 38.]

      2.     In the Court’s Order granting the Motion to Stay Discovery, this Court

instructed the Parties to file a “status report with the Court no later than seven (7)

days following mediation, informing it of the outcome of the proceedings.” (Order

at 1-2, Sept. 21, 2021, ECF No. 38.)
        Case 1:20-cv-04880-LMM Document 39 Filed 11/22/21 Page 2 of 4




      3.     The Parties resolved the matter at mediation and are working to finalize

all necessary paperwork. The Parties hope to file the Joint Stipulation of Dismissal

with Prejudice in the case within the next month or two.

      Respectfully submitted, this 22nd day of November, 2021.

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                                        WILSON, LLP

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       Case 1:20-cv-04880-LMM Document 39 Filed 11/22/21 Page 3 of 4




                     CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies that this memorandum complies with the

font and point selections approved by the Court in Local Rule 5.1C. This brief has

been prepared in Times New Roman, 14 point.

                                            s/ Laura A. Denton
                                            Laura A. Denton
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        Case 1:20-cv-04880-LMM Document 39 Filed 11/22/21 Page 4 of 4




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CHRIS MATSON,                               )
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                                            )
CITY OF FOREST PARK, GA,                    )
                                            )
             Defendant.                     )
                          CERTIFICATE OF SERVICE
      I hereby certify that on November 22, 2021, I electronically filed the foregoing

JOINT STATUS REPORT with the Clerk of Court using the CM/ECF system,

which will automatically send email notification of such filing to the following

attorneys of record:

                                 Steven N. Newton
                                 Nancy B. Pridgen
                                 Leslie M. Bassett

                                                s/ Laura A. Denton
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